
*665OPINION.
Lansdon:
The only question here is whether the amount paid by the petitioner to Carney was a capital expenditure or an expense in the nature of a fee for professional services. Even if the payment was a fee for services rendered, the respondent maintains that it was not an expense deductible from gross income of the petitioner for the taxable year, but a capital outlay incident to the acquisition of the lease.
Upon authority of many cases already decided by the Board, we must approve the determination of the respondent. Appeal of Crompton Building Corporation, 2 B. T. A. 1056; Appeal of D. N. &amp; E. Walter &amp; Co., 4 B. T. A. 142; Appeal of Lincoln L. McCandless, 5 B. T. A. 1114.
No evidence relating to the deficiency for 1921 having been presented, the determination of the respondent is approved.
Reviewed by the Board.

Judgment will Toe entered for the respondent.

